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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION
                                    Case No.: 0:19-cv-63065 BB

   RENEE MARO,

          Plaintiff,

   v.

   PRIMARY CARE PHYSICIANS OF
   HOLLYWOOD, P.L., and WOUND
   CARE MANAGEMENT SPECIALISTS,
   LLC,

          Defendants.
                                                  /


                           JOINT MOTION FOR EXTENSION OF TIME

         Plaintiff, RENEE MARO, and Defendants, PRIMANRY CARE PHYSCIANS OF

  HOLLYWOOD, P.L. and WOUND CARE MANAGEMENT SPECIALISTS, LLC., by and

  through their undersigned counsel and pursuant to Fed. R. Civ. P. 6(b) and S.D. Fla. L.R. 7.1,

  request, jointly, an extension of time within which to conduct final discovery, an extension to

  submit pre-trial motions, and in support state as follows:

         1.        On April 7, 2020, this Court entered its Order Setting Trial and Pre-Trial Schedule

  [DE #10] (“The Court’s Order.”) Pursuant to this Court’s Order, discovery is scheduled to end on

  December 1, 2020.

         2.        Due to COVID-19 issues slowing communications and discovery responses and the

  press of other litigation matters and deadlines, both parties request a brief extension of time,

  through and including January 15, 2021, to complete discovery, and February 1, 2021, to submit

  final motions.



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         3.      The requests contained herein are not intended for purposes of delay and will not

  cause any prejudice to the Court or any party to this action, as COVID-19 has delayed trial.

         4.      This motion is made by both Parties in good faith.

                                     MEMORANDUM OF LAW

         Fed. R. Civ. P. 6(b) provides that, when an act may or must be done within a specified

  period of time, the Court, for good cause, may extend the time if a request is made, before the

  original time or its extension expires. Fed. R. Civ. P. 6(b) is to be liberally construed to give

  litigants an opportunity to be heard and to have their day in court, so that justice can be served.

  See, e.g., Anderson v. Stanco Sports Library, Inc., 52 F.R.D. 108 (D.S.C. 1971).

         As set forth above, the Parties have shown good cause for the requested extension of time.

  Accordingly, the Parties respectfully request that the Court grant this Motion, allowing them

  additional time in which to conduct final discovery and submit pre-trial motions.

         WHEREFORE, Plaintiff, RENEE MARO, and Defendants, PRIMANRY CARE

  PHYSCIANS OF HOLLYWOOD, P.L. and WOUND CARE MANAGEMENT SPECIALISTS,

  LLC., by and through their undersigned counsel and pursuant to Fed. R. Civ. P. 6(b) and S.D. Fla.

  L.R. 7.1, request, jointly, an extension of time within which to conduct final discovery, an

  extension to submit pre-trial motions, and granting such other relief as is just and proper.

                       CERTIFICATE OF COMPLIANCE WITH L.R. 7.1

         The undersigned certifies that on November 12, 2020, he conferred with Plaintiffs’ counsel,

  regarding the relief requested herein, and that Plaintiffs agreed for the motion to be filed jointly.

         Respectfully submitted jointly, this 12th day of November, 2020.

                                                     LUBELL & ROSEN, LLC
                                                     Attorneys for Defendants
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                                        By /s/ Joshua H. Sheskin
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